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     Gallant Law Group, PC and
 7   Center Pointe Law, PC
 8
                        UNITED STATES BANKRUPTCY COURT
 9
             CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
10

11
     In re                                     Case No. 8:23-bk- 10571-SC
12
                                               Adv. Proc. No. 8:23-ap-01046-SC
13   THE LITIGATION PRACTICE
     GROUP, PC,                                Chapter 11
14
                     Debtor.                   STIPULATION TO EXTEND TIME
15
                                               TO RESPOND TO AMENDED
16                                             COMPLAINT
   RICHARD A. MARSHACK,
17 Chapter 11 Trustee,
                                               CASE FILED: May 25, 2023
18                      Plaintiff,             DEPT:
                                               ROOM:
19 v.
                                               JUDGE: Hon. Scott C. Clarkson
20 TONY DIAB, et al.,

21                      Defendants.

22

23
             PLEASE TAKE NOTICE that Defendant Gallant Law Group, PC (“Gallant”),
24
     Center Pointe Law, PC, and Plaintiff and Chapter 11 Trustee Richard A. Marshack,
25
     hereby stipulate and agree, through their respective counsel, as follows:
26
             1.   Plaintiff filed an amended complaint (“Complaint”) for: (1) Injunctive
27
     Relief; (2) Avoidance, Recovery, and Preservation of Two-Year Actual Fraudulent
28
                                                               ADV. PROC. NO. 8:23-AP-01046-SC
                                                                 STIP. EXT. RESP. AM. COMPL.
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 1   Transfers; (3) Avoidance, Recovery, and Preservation of Two year Constructive
 2   Fraudulent Transfers; (4) Avoidance, Recovery, and Preservation of Four-Year
 3   Actual Fraudulent Transfers; (5) Avoidance, Recovery, and Preservation of Four-
 4   Year Constructive Fraudulent Transfers; and (6) Turnover in the above captioned
 5   adversary proceeding on May 25, 2023. [Doc. No. 1.]
 6           2.    Plaintiff filed an amended complaint (“Amended Complaint”) on June
 7   15, 2022. [Doc. No. 62.] The Amended Complaint asserted claims against Gallant.
 8           3.    The Complaint and Amended Complaint name Gallant as a defendant.
 9           4.    The Amended Complaint includes Center Pointe in the definition of
10   “Fraudulent Transferees” and requests relief against Center Pointe, including an
11   order requiring Center Pointe to “turnover” assets of the estate which Trustee alleges
12   are in Center Pointe’s possession.
13           5.    Trustee served the Amended Complaint and a summons on Gallant on
14   June 23, 2023, making July 24, 2023 the deadline for Gallant to file and serve any
15   response.
16           6.    On July 5, 2023, Trustee agreed to provide Gallant and/or Center Pointe
17   an extension until July 31, 2023 to respond to the Amended Complaint.
18           7.    Trustee and Gallant have now agreed to further extend the deadline for
19   Gallant and/or Center Pointe to respond to the Amended Complaint. Trustee, Gallant,
20   and Center Pointe agree to extend the deadline from July 31, 2023 to August 31,
21   2023.
22                                      STIPULATION
23           WHEREFORE, based on the above and the foregoing, Trustee, Gallant, and
24   Center Pointe stipulate and agree as follows:
25           The deadline for Gallant and/or Center Pointe to file and serve any response to
26   Trustee’s Amended Complaint shall be extended from July 31, 2023 to August 31,
27   2023.
28
                                                                ADV. PROC. NO. 8:23-AP-01046-SC
                                                2
                                                                  STIP. EXT. RESP. AM. COMPL.
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 1   IT IS SO STIPULATED.
 2    DATED: July 31, 2023           DINSMORE & SHOHL, LLP
 3

 4
                                     By:
 5                                     CHRISTOPHER B. GHIO, ESQ.
 6
                                        Attorneys for Plaintiff,
 7                                      Chapter 11 Trustee Richard Marshack
 8

 9
      DATED: July 31, 2023           FRANKLIN SOTO LEEDS LLP

10                                   By:
11                                     PAUL J. LEEDS, ESQ.
                                       MEREDITH KING, ESQ.
12

13                                      Attorneys for Defendant
                                        Gallant Law Group, PC and Center Pointe
14                                      Law, PC
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                                                           ADV. PROC. NO. 8:23-AP
                                                                               AP-01046-SC
                                            3
                                                             STIP. EXT. RESP. AM. COMPL.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled (specify): STIPULATION TO EXTEND TIME TO RESPOND
TO AMENDED COMPLAINT.

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
July 31, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) July 31, 2023, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Via Overnight Mail- JUDGE'S COPY
The Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
Ronald Reagan Federal Building and Courthouse
411 West Fourth Street, Suite 5130 / Courtroom 5C
Santa Ana, CA 92701-4593
                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 07/31/2023                     Sophia Sanchez                                                  /s/ Sophia Sanchez
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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Information for Case 8:23-ap-01046-SC

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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       Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
